       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 1 of 16




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 24-11354-RGS

                    THE LOUIS D. BRANDEIS CENTER
                    FOR HUMAN RIGHTS UNDER LAW
                      and JEWISH AMERICANS FOR
                        FAIRNESS IN EDUCATION

                                       v.

          PRESIDENT AND FELLOWS OF HARVARD COLLEGE

                    MEMORANDUM AND ORDER ON
                   DEFENDANT’S MOTION TO DISMISS

                              November 5, 2024

STEARNS, D.J.

      Plaintiffs The Louis D. Brandeis Center, Inc. (Brandeis Center), and

Jewish Americans for Fairness in Education (JAFE) bring this putative class

action against the President and Fellows of Harvard College (Harvard) for

allegedly allowing Jewish and Israeli students to be “subjected to cruel

antisemitic bullying, harassment, and discrimination” in “recent years.”

Compl. [Dkt # 1] ¶ 2. The Complaint asserts three counts under Title VI of

the Civil Rights Act of 1964, 42 U.S.C. § 2000D: direct discrimination (Count

I), hostile educational environment (Count II), and retaliation (Count III).

Harvard moves to dismiss these claims for lack of standing under Federal

Rule of Civil Procedure 12(b)(1), and for failure to state a claim under Federal
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 2 of 16




Rule of Civil Procedure 12(b)(6).         Having reviewed the briefing and

considered the parties’ arguments during the October 23, 2024 hearing, the

court will allow the motion in part and deny it in part.

                              BACKGROUND

      The relevant facts, drawn from the Complaint and taken in the light

most favorable to plaintiffs, are as follows. In the spring of 2023, three

members of the Brandeis Center and JAFE attending the Harvard Kennedy

School (the HKS Members) enrolled in a course entitled “Organizing: People,

Power, Change,” taught by Professor Marshall Ganz. Compl. ¶ 37. One of

the core requirements of the course was that students form small teams and

propose a project based on the promotion of their values. The HKS Members

formed a team and proposed conducting a project based on their Israeli and

Jewish identity. The next day, Professor Ganz called them “into his office for

a meeting,” during which he “pressured” them “to abandon the project” and

“compared their use of the words ‘Jewish State’ to a student advocating for

America to become a country of ‘white supremacy.’” Id. ¶¶ 41, 42, 44. When

the HKS Members refused to bend to his objections, Professor Ganz

retaliated by, inter alia, permitting the teaching fellows and other students

to engage in pro-Palestinian, anti-Israeli rhetoric during class without

offering the HKS Members any opportunity to respond.


                                      2
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 3 of 16




      A few weeks after this incident, the Brandeis Center sent a letter to

Harvard on behalf of the HKS Members describing “the discriminatory

treatment that [the] HKS Members were subjected to and the hostile

environment at” Harvard Kennedy School. Id. ¶ 65. Harvard responded by

hiring an external investigator to evaluate the HKS Members’ claims. The

investigator ultimately concluded that it was more likely than not that (1)

Professor Ganz’s treatment of the HKS Members “ran counter” to Harvard’s

free speech and anti-bias policies, and (2) Professor Ganz had created a

hostile learning environment and subjected the HKS Members to bias. Id.,

Ex. A. Although Harvard “accept[ed] as final the Fact Finder’s findings of

fact and conclusions regarding the violations of School policies,” Id., Ex. D,

it, acting under the guise of confidentiality, failed to take any remedial action

against Professor Ganz after receiving the investigator’s report.1

      On October 7, 2023, the Palestinian Sunni Islamist terrorist group

Hamas2 committed a brutal terrorist attack on Israel. Antisemitism and

anti-Israel agitation surged at Harvard in the wake of this attack. The next


      1 Harvard “subsequently publicly touted Professor Ganz as a civil rights

hero” a few months later. Id. ¶ 80.

      2 “Hamas” is an acronym for Harakat al-Muqawama al-Islamiya, which

translates roughly in English to Islamic Resistance Movement. In 1997, the
U.S. Department of State designated Hamas as a Terrorist Organization
under § 219 of the Immigration and Nationality Act, 8 U.S.C. § 1189.
                                      3
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 4 of 16




day, for example, more than thirty Harvard student groups signed a letter

“purporting to ‘hold the Israeli regime entirely responsible for all unfolding

violence,’ and stating that the ‘apartheid regime’ in Israel is ‘the only one to

blame.’” Id. at 86. Harvard did not condemn the students who signed the

letter or take any remedial action against them.         Instead, weeks later,

Harvard commissioned a task force to protect them from a mounting public

backlash.

      On October 18, 2023, two pro-Palestinian student groups organized a

metaphorical “die-in” demonstration on campus. A member of the Brandeis

Center and JAFE attending the Harvard Business School (the HBS Member)

was accosted by anti-Israel protestors as he attempted to film the

demonstration. A protestor shoved a keffiyeh3 in his face and told him to

“get out,” even though the demonstration was occurring in a space open to

all students. Id. ¶ 117. When he refused to leave, more protestors joined the

scrimmage, surrounding him and forcing him to the outside perimeter of the

demonstration. At least two individuals grabbed the HBS Member during

this effort and physically pushed him away from the protest. These two

students have since been criminally charged by the Suffolk County District




      3 A keffiyeh is a traditional Middle Eastern scarf worn as a headdress.

                                       4
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 5 of 16




Attorney with misdemeanors for assault and battery and civil rights

violations.

      When the HBS Member attempted to complain about this conduct to

Harvard, Harvard declined to take any remedial action, citing the pending

criminal investigation against the protestors. After facing pressure from

Congress, however, Harvard changed course and, on January 3, 2024,

purported to assign outside counsel to conduct an external investigation on

the matter. Outside counsel took no action with regard to the investigation

for several months. Finally, on April 10, 2024, the night before Congress

published a letter to Harvard demanding action, outside counsel reached out

to the HBS Member to schedule an interview. Outside counsel does not

appear to have similarly reached out to the alleged perpetrators, and no

interview had been scheduled with them as of the date of the hearing.

      On October 30, 2023, on her morning walk to the bus stop, a member

of the Brandeis Center and JAFE attending the Harvard Medical School and

the Harvard Kenneth C. Griffin Graduate School of Arts and Sciences (the

HMS Member) encountered protestors “celebrating the terrorist attack and

referring to it as an act of ‘justified resistance’ by ‘brave freedom fighters.’”

Id. ¶ 134. “On a weekly basis thereafter, [she] encountered rabid protests on

campus shouting chants like ‘There is only one solution: Intifada


                                       5
          Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 6 of 16




Revolution!’—referring to a violent uprising against Israeli Jews—and ‘Min

il-mayye lal-mayye, Falastin ‘arabiyye!’—an Arabic chant translating to

‘From the water to the water, Palestine will be Arab.’” Id. ¶ 135. These chants

are regarded by many as antisemitic. The HMS Member found the campus

environment to be so distressing that she stopped commuting to her lab and

instead began to work almost exclusively from her apartment.

      On numerous occasions through the fall of 2023, the HMS Member

emailed Harvard administrators to ask for help. She never heard back from

any Harvard official. The HMS Member also tried, at one point, to file a

formal complaint with Harvard’s Office for Equity, Diversity, Inclusion, and

Belonging. Harvard refused to let her proceed anonymously, however, and

she, fearing retaliation, dropped her complaint.

      In December of 2023, Congress found reports alarming enough that it

“announced an investigation into ‘the learning environments at Harvard’ and

its ‘policies and disciplinary procedures.’” 4 Id. ¶ 165. Harvard initially

attempted to stymie this investigation, forcing the congressional committee

to issue subpoenas to three senior officials at Harvard.


      4 A few days before Congress launched the investigation, then-
President Claudine Gay was called to testify on the issue. When asked
whether “calling for the mass murder of Jews on campus” would violate
Harvard’s code of conduct, she perturbingly replied that it would “depend[]
on the context.” Id. ¶ 8.
                                    6
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 7 of 16




      Despite the ongoing congressional investigation, expression of

antisemitism and hatred for Israel continued at Harvard through the spring

semester. Several Brandeis Center and JAFE members, for example, were

subjected to offensive statements 5 on Sidechat, an anonymous social

network accessible only to those with Harvard emails. On February 18, 2024,

several student groups and one faculty group posted an antisemitic cartoon

depicting “a hand etched with a Star of David and a dollar sign holding a

noose around the necks of what appear to be a black man and an Arab man”

on their social media accounts.6 Id. ¶ 102. And on March 28, 2024, the

Harvard Law School’s student government passed an anti-Israel resolution

calling for Harvard to divest from “institutions that aid the ongoing illegal

occupation of Palestine and the genocide of the Palestinians.” Id. ¶ 106.

Harvard does not appear to have taken any actions in response to these

incidents.




      5 One student, for example, posted that “he or she ‘proudly accept[s]

the label of terrorist’ and that it is ‘very hard to gaf [i.e., ‘give a f---’] about
the concertgoers.’” Id. ¶ 95 (alterations in original). Another callously
posted “LET EM COOK” in response to Israeli responders finding the bodies
of babies burned to death. Id. ¶ 101.
      6 A Harvard dormitory organized a panel discussion on “Islamophobia,

Antisemitism, and Religious Literacy” that would include a representative
from one of the groups which posted this cartoon. The panel was cancelled,
however, when two of the three panelists withdrew for unknown reasons.
                                    7
         Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 8 of 16




        Harvard maintains several policies that govern student conduct,

including a Non-Discrimination and Anti-Bullying Policy, two Statements on

Rights and Responsibilities, and several school-specific handbooks. These

policies “protect students from . . . discrimination, retaliation, harassment,

and violence” and are intended “to ensure equal access to rights, privileges,

and opportunities without regard to race, color, religion, creed, national

origin, ancestry, or any other legally protected basis.” Id. ¶¶ 173, 174. Any

individual found to have violated these policies is subject to disciplinary

measures, including suspension, mandatory coaching and training, and/or

termination/expulsion.

                                 DISCUSSION

   I.      Standing

        To establish Article III standing, plaintiffs must satisfy three familiar

requirements: “(i) that [they] ha[ve] suffered or likely will suffer an injury in

fact, (ii) that the injury likely was caused or will be caused by the defendant,

and (iii) that the injury likely would be redressed by the requested judicial

relief.” FDA v. All. for Hippocratic Med., 602 U.S. 367, 380 (2024). If the

injury has not yet occurred, it must be “certainly impending.” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 402 (2013). To seek prospective relief,




                                        8
       Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 9 of 16




plaintiffs must allege an “ongoing injury or a sufficient threat that the injury

will recur.” Roe v. Healey, 78 F.4th 11, 21 (1st Cir. 2023).

      An association has standing to sue on its members’ behalf when (1) at

least one of its members would have standing to sue individually, (2) the

interests it seeks to protect are “germane to the organization’s purpose,” and

(3) the claims and types of relief requested do not require individual

participation of the members. Hunt v. Washington State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977). If the association seeks damages but

“alleges no monetary injury to itself,” associational standing is precluded

unless the damages claims are “common to the entire membership.” Warth

v. Seldin, 422 U.S. 490, 515 (1975). Injunctive relief, by contrast, has

“generally been held particularly suited to group representation.” Camel

Hair & Cashmere Inst. of Am., Inc. v. Assoc. Dry Goods Corp., 799 F.2d 6,

12 (1st Cir. 1986). In assessing the third Hunt prong in cases seeking

injunctive relief, the nature of the claim plays a distant second fiddle to the

type of relief sought. See Warth, 422 U.S. at 515 (the third prong “depends

in substantial measure on the nature of the relief sought”).

      As in Kestenbaum v. President & Fellows of Harvard College, 2024

WL 3658793 (D. Mass. Aug. 6, 2024), and StandWithUs Center for Legal

Justice v. Massachusetts Institute of Technology, 2024 WL 3596916 (D.


                                       9
         Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 10 of 16




Mass. July 30, 2024), the court perceives no jurisdictional bar to

associational standing.7     Although Harvard disputes whether members’

injuries are ongoing (arguing that they assert only two discrete instances of

alleged discrimination), the Complaint paints a picture of a campus

environment that, allegedly to this day, is filled with antisemitic and anti-

Israeli rhetoric that Harvard refuses to sanction or even address. This is

sufficient to give them standing in an individual capacity to seek prospective

injunctive relief. And even assuming Harvard is correct that the Brandeis

Center’s and JAFE’s claims will require individualized consideration of these

members’ experiences, this is no bar to associational standing because the

requested injunctive relief will inure to the benefit of all injured class

members. See Warth, 422 U.S. at 515.

   II.     Failure to State a Claim

         To survive a motion to dismiss under Rule 12(b)(6), a complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),

quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). If the

allegations in the complaint are “too meager, vague, or conclusory to remove




         7 Because Brandeis Center has associational standing, the court need

not determine whether it separately has organizational standing.
                                    10
      Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 11 of 16




the possibility of relief from the realm of mere conjecture,” the complaint will

be dismissed. SEC v. Tambone, 597 F.3d 436, 442 (1st Cir. 2010) (en banc).

      Title VI prohibits (with some exceptions not relevant here) recipients

of federal funds from intentionally discriminating “on the ground of race,

color, or national origin.” Alexander v. Sandoval, 532 U.S. 275, 280 (2001).

The parties agree that Title VI protects Jewish students from harassment,

and discrimination based on actual or perceived Israeli identity is, of course,

discrimination based on national origin.

      a. Direct Discrimination

      Plaintiffs concede that they offer no comparator for the purposes of

direct discrimination.     They nonetheless contend that the Complaint

plausibly   establishes   direct   discrimination   because    Harvard     took

“affirmative steps to obfuscate, mislead, and deter [members of the Brandeis

Center and JAFE] from seeking relief.” Pls.’s Mem. in Opp’n to Def.’s Mot.

to Dismiss [Dkt # 53] at 18. But even if true, nothing in the Complaint

plausibly establishes that Harvard took these actions because of some anti-

Jewish or anti-Israeli discriminatory animus.        See Dartmouth Rev. v.

Dartmouth Coll., 889 F.2d 13, 20 (1st Cir. 1989) (“[T]he mere existence of

disparate treatment—even widely disparate treatment—does not furnish

adequate basis for an inference that the discrimination was racially


                                      11
      Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 12 of 16




motivated.”), overruled on other grounds by Educadores Puertorriquenos

en Accion v. Hernandez, 367 F.3d 61 (1st Cir. 2004). The evidence upon

which plaintiffs rely – that Harvard invented a policy to delay disciplinary

action pending resolution of criminal proceedings, or that Harvard

obfuscated its response to the discrimination finding to avoid disciplining

Professor Ganz – only creates a reasonable inference of bias if the university

did not treat non-Jewish and non-Israeli comparators similarly. In the

absence of any similarly situated comparator, the claim must be dismissed.

     b. Deliberate Indifference

     An institution is deliberately indifferent to harassment if its response

to the mistreatment is “clearly unreasonable in light of the known

circumstances.” Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ.,

526 U.S. 629, 648 (1999). 8      The deliberate indifference standard “has

considerable bite.”9 Santiago v. Puerto Rico, 655 F.3d 61, 73 (1st Cir. 2011).


      8 Although Davis is a Title IX case, the parties agree that its deliberate

indifference test applies in the Title VI context. Nearly every other Circuit
has reached a similar conclusion. See, e.g., Zeno v. Pine Plains Cent. Sch.
Dist., 702 F.3d 655, 664 (2d Cir. 2012); Whitfield v. Notre Dame Middle Sch.,
412 F. App’x 517, 521 (3d Cir. 2011); Fennell v. Marion Indep. Sch. Dist., 804
F.3d 398, 408 (5th Cir. 2015); Doe v. Galster, 768 F.3d 611, 617 (7th Cir.
2014); Bryant v. Indep. Sch. Dist. No. I-38 of Garvin Cnty., 334 F.3d 928,
934 (10th Cir. 2003).

      9 It demands that an institution have actual knowledge of harassment

“to eliminate any ‘risk that the recipient would be liable in damages not for
                                       12
      Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 13 of 16




Proof of deliberate indifference further “requires more than a showing that

the institution’s response to harassment was less than ideal.” Fitzgerald v.

Barnstable Sch. Comm., 504 F.3d 165, 171 (1st Cir. 2007), rev’d on other

grounds, 555 U.S. 246 (2009). As this court observed in a very similar case,

deliberate indifference means “affirmatively choosing to do the wrong thing,

or doing nothing, despite knowing what the law requires.” StandWithUs,

2024 WL 3596916, at *4. Plaintiffs must plead that the school “either did

nothing or failed to take additional reasonable measures after it learned that

its initial remedies were ineffective.” Porto v. Town of Tewksbury, 488 F.3d

67, 74 (1st Cir. 2007).

      A deliberate indifference claim has five elements: (1) plaintiffs were

“subject to ‘severe, pervasive, and objectively offensive’ . . . harassment”;

(2) the harassment “caused the plaintiff to be deprived of educational

opportunities or benefits”; (3) the school “knew of the harassment”; (4) the

harassment occurred “in its programs and activities”; and (5) the school “was

deliberately indifferent to the harassment such that its response (or lack

thereof) is clearly unreasonable in light of the known circumstances.” Id. at

72-73. Harvard challenges only the fifth element. See Def.’s Mem. in Supp.




its own official decision but instead for its employees’ independent actions.’”
Id., quoting Davis, 526 U.S. at 643.
                                       13
      Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 14 of 16




of Mot. to Dismiss [Dkt #48] at 13 (“Plaintiffs’ own allegations show

Harvard’s response was “not ‘clearly unreasonable’ as a matter of law.”),

quoting Davis, 526 U.S. at 649.

      With respect to the HMS Member, Harvard contends that its response

(to do nothing) was reasonable because it was unaware of the harassment

she faced.10   This argument, however, is wholly inconsistent with the

Complaint, which directly alleges that the HMS Member “has emailed

Harvard administrators on numerous occasions” and even tried to file a

formal complaint. Compl. ¶ 162. It accordingly does not provide a basis for

dismissal in this case.

      As for the HKS Members and the HBS Member, Harvard contends that

its response was reasonable because, in each instance, it affirmatively

launched an outside investigation into the alleged harassment. But this

argument misconstrues the nature of plaintiffs’ claims.         The alleged

unreasonableness in Harvard’s response arises from its failure (for more

than a year) to take any remedial action based on the results of one




      10 To the extent Harvard attempts to rely on the First Amendment to

excuse its failure to act, the court finds this argument unpersuasive for the
same reasons discussed in Kestenbaum, 2024 WL 3658793, at *6.

                                     14
      Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 15 of 16




investigation11 and its failure (for months on end) to meaningfully advance

the other. To conclude that the mere act of launching an investigation

without any further follow-through necessarily defeats a deliberate

indifference claim, would be to prioritize form over function.

      c. Retaliation

      “Title VI’s discrimination prohibition has been held to include an

implicit prohibition on retaliation based on opposition to practices that Title

VI forbids.” Cornelius-Millan v. Caribbean Univ., Inc., 2015 WL 1860831,

at *4 (D.P.R. Apr. 23, 2015). A Title VI retaliation claim has three elements:

(1) that the plaintiff engaged in protected activity; (2) that the defendant took

a material adverse action against plaintiff; and (3) “that a causal connection

existed between the protected activity and the adverse action.” Peters v.

Jenney, 327 F.3d 307, 320 (4th Cir. 2003).

      Harvard contends that the second element is lacking here, i.e., that the

Complaint fails to plausibly establish that Harvard took any material adverse

action against the HKS Members. Plaintiffs do not appear to substantively

dispute this point. They suggest, however, that despite the general absence




      11 Harvard vehemently disputes the notion that it has not taken
remedial action against Professor Ganz, maintaining that it cannot, for
reasons of confidentiality, divulge the nature of the action undertaken. At
this stage, the court must accept plaintiffs’ factual allegations as true.
                                      15
        Case 1:24-cv-11354-RGS Document 73 Filed 11/05/24 Page 16 of 16




of vicarious liability under Title VI, Professor Ganz’s material adverse actions

can nonetheless be attributed to the university under a deliberate

indifference theory. See Czerwienski v. Harvard Univ., 666 F. Supp. 3d 49,

92 (D. Mass. 2023) (“Courts that have addressed the issue have determined

that educational institutions may be subjected to liability for deliberate

indifference to retaliation for complaints regarding sex discrimination.”).

The problem is this: The Complaint does not actually limn a claim to this

effect. See Compl. ¶ 240 (“Defendant subjected Members #1–5 and certain

members of the Brandeis Center and JAFE to material adverse actions as a

result of their protected activity of reporting discrimination at Harvard.

These     occurred   contemporaneously       with,   or   after,   reports   of

discrimination.”). The court accordingly will allow the motion to dismiss the

Title VI retaliation claim.

                                   ORDER

      For the foregoing reasons, Harvard’s motion to dismiss is ALLOWED

IN PART and DENIED IN PART. Counts I and III are dismissed. Count II

shall proceed to discovery.

                                    SO ORDERED.

                                    /s/ Richard G. Stearns
                                    UNITED STATES DISTRICT JUDGE



                                      16
